           Case 1:21-cr-00331-CKK Document 16 Filed 07/07/21 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.                                          Case No. 21-cr-331

 KENNETH KELLY,

               Defendant.
_____________________________/

      UNOPPOSED MOTION TO CONTINUE STATUS CONFRENCE

      COMES NOW the Defendant, KENNETH KELLY, by and through his

undersigned attorney and moves this Honorable Court to continue the Status

Conference currently set for July 8, 2021, and would state:

      1.       The government has informed the defendant that there is a huge

volume of discovery yet to be delivered to defendant in this matter.

      2.       Because of the large volume of discovery, the government needs

additional time to gather it, organize it and prepare it for distribution to multiple

defendants involved in this same subject matter.

      3.       The defendant agrees that the time between this Status Conference

and the newly set Status Conference is excludable time under the Rules. This case

is so unusual and complex that additional time for preparation is needed. The end

of justice would be served by granting this continuance. 18 U.S.C. 3161.
           Case 1:21-cr-00331-CKK Document 16 Filed 07/07/21 Page 2 of 3




      4.       The defendant requests a 60 day continuance of the Status

Conference.

      5.       The government has been contacted and has no objection to the 60

day continuance.

      WHEREFORE, the Defendant, KENNETH KELLY, by his attorney

moves on this Honorable Court to issue an order continuing the Status Conference

in this matter for 60 days.

                           CERTIFICATE OF SERVICE

      I CERTIFY that on the 7th of July, 2021, I caused a copy of the foregoing to

be filed through the CM/ECF electronic filing system, thereby causing a true and

correct copy of the foregoing to be delivered to the following:

hava.mirell@usdoj.gov.

                                        TRAGOS, SARTES & TRAGOS, PLLC

                                        /s/ George E. Tragos, Esq.
                                        GEORGE E. TRAGOS, ESQ.
                                        Florida Bar No. 184830
                                        E-mail: george@greeklaw.com
                                        /s/ Peter A. Sartes, MBA/JD
                                        PETER A. SARTES, MBA/JD
                                        Florida Bar No. 582905
                                        E-mail: peter@greeklaw.com
                                        2363 Gulf to Bay Blvd, Ste 100
                                        Clearwater, FL 33765
                                        PH: (727) 441-9030
                                        Secondary E-mail: naomi@greeklaw.com
Case 1:21-cr-00331-CKK Document 16 Filed 07/07/21 Page 3 of 3
